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IN THE UNITED sTATEs DISTRICT coUR m OPE 10 f
FOR THE wESTERN DISTRICT op TENN /.Z(g_¢{/
wEsTERN DIVISION DA.\.E._ ` W
T\ME.‘/?/N//
UNITED STATES oF AMERICA \N\‘\'\P\\-S"
Plaintiff,

Criminal No. Qq - QOOlS-’Ml

V.

S+o\.v\-Fa.vuj N 1`CM01%

(60-Day Continuance)

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I'INUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 24th day of August, 2005.

ma document entered on the docket sheeti '.:mr.p\iance
wsm iTuEa §§ anc!!or 32('0) FRCrP on § “QZZ’QE 575

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SO ORDERED this 24th day of August, 2005.

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JO PHIPPS MCCALLA
TED STATES DIS'I'R.ICT JUDGE

 

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Assiétant United States Attorney

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Counsel for Defendant(s)

   

UN1TED sTEsAT D1sTR1C COURT - WESERT DISTR1CT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
case 2:04-CR-20015 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Arthur E. Quinn

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

